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                    12
                                                      UNITED STATES BANKRUPTCY COURT
                    13
                                                       EASTERN DISTRICT OF CALIFORNIA
                    14
                                                                 FRESNO DIVISION
                    15
                            In re                                        Bankruptcy Case No. 18-11651-A-11
                    16
                             GREGORY JOHN TE VELDE,                      Chapter 11
                    17
                             Debtor.                                     Adv. Pro. No. 19-01033-B
                    18
                                                                         DC No. MNG-5
                    19       RANDY SUGARMAN, CHAPTER 11
                             TRUSTEE,                                    REPLY IN SUPPORT OF DEFENDANTS’
                    20                                                   MOTION FOR SUMMARY JUDGMENT AS
                             Plaintiff,                                  TO PLAINTIFF’S FIRST AMENDED
                    21                                                   COMPLAINT, OR IN THE ALTERNATIVE,
                             v.                                          FOR PARTIAL SUMMARY JUDGMENT
                    22
                             IRZ CONSULTING, LLC et al.;                   Hearing Date:       July 16, 2025
                    23                                                     Time:               11:00 a.m.
                             Defendants.                                   Place:              Dept. B, Ctr. 13, 5th Fl.
                    24                                                                         U.S. Bankruptcy Court
                                                                                               2500 Tulare Street
                    25       AND RELATED CROSS-ACTIONS                                         Fresno, CA
                                                                           Judge:              Hon. Rene Lastreto
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                        1                                               I. ARGUMENT

                        2   A.        Trustee Concedes Summary Judgment on His First Cause of Action for Claim
                                      Objection
                        3
                                      Trustee’s first cause of action is for objection to the claim of IRZ. FAC ¶ 43. In
                        4
                            opposition, Trustee concedes to IRZ’s request for summary judgment as to this cause of action,
                        5
                            stating that “[i]n light of IRZ’s factual proffer in this regard, Plaintiff agrees with IRZ that
                        6
                            Plaintiff’s objection to IRZ’s Proof of Claim has been rendered moot.” Opposition at 29:24-26.
                        7
                            Given this concession, summary judgment should be granted in favor of IRZ on this cause of
                        8
                            action.
                        9
                            B.        Trustee Provides No Disputed Facts Regarding the Second Cause of Action for
                    10                Breach of Contract

                    11                1.     The Issue of Whether Performance Was Excused by Debtor’s Breach Was
                                             Not Reached in The Ruling on Trustee’s Summary Judgment Motion
                    12

                    13                In the Court’s Findings and Recommendation on Trustee’s Third Motion for Partial

                    14      Summary Judgment (the “Findings”), this Court found disputed issues of fact as to whether the

                    15      Services Agreement required IRZ to provide engineering services [Dkt. #844]. Trustee asserts

                    16      this goes both ways and is grounds for denying IRZ’s motion on the same cause of action.

                    17      Opposition at 1:8-20.

                    18                Trustee misstates the Court’s ruling. The Court found only that there were facts that

                    19      created disputed issues of fact to establish Trustee’s claims. The Court did not make findings that

                    20      Trustee had also introduced sufficient facts to defeat IRZ’s counter-summary judgment motion to

                    21      defeat those claims. Nothing in the Findings states otherwise. This was correct, as doing so would

                    22      be unnecessary given the posture of that motion.

                    23                Unlike Trustee’s motion to establish its claim, IRZ has to defeat only one element of

                    24      breach of contract to prevail on summary judgment. As set forth in Defendants’ Motion, Trustee’s

                    25      breach of contract claim fails unless Trustees proves the element of Debtor’s performance.

                    26      Motion for Summary Judgment at 17-19. Trustee’s Third Motion for Partial Summary Judgment

                    27      did not request the Court to determine whether Debtor’s breach excused IRZ’s performance.

                    28      MPA on Motion at 6:1-3 [Dkt. #766]. Further, this Court did not need to reach the issue as to
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                        1   whether Debtor’s failure to perform was so complete as to excuse any claims of breach by IRZ to

                        2   provide engineering services. Accordingly, this issue was not decided in Trustee’s motion for

                        3   summary judgment.

                        4          However, it is live in this motion, and as set forth below, this argument forms an

                        5   independent basis to grant summary judgment for Defendants.

                        6          2.      Debtor’s Breach Excused Performance on All Claims Raised by Trustee
                        7          It is undisputed that IRZ first entered into the Services Agreement on November 17, 2015,

                        8   and IRZ ceased work due to lack of payment on August 3, 2017. Defendants’ Statement of

                        9   Undisputed Material Facts (“SUMF”) ## 9, 39. Debtor lacked funding to continue because of the

                    10      decline of milk prices. SUMF # 27. As set forth in IRZ’s Motion, the failure to tender payment

                    11      constituted a material breach that excused performance by IRZ under the Services Agreement.

                    12      Therefore, Trustee cannot claim damages for IRZ’s alleged non-performance of engineering

                    13      services (even assuming, incorrectly, that IRZ had been tasked with performing any specific

                    14      engineering services).

                    15             Trustee asserts that Debtor’s breach by nonpayment excuses only “future” performance,

                    16      and IRZ is liable for breaches before August 3, 2017. Opposition at 17. IRZ does not dispute this

                    17      general principle, but it does not apply here. While the Services Agreement incorporates several

                    18      areas of work, the primary tasks that matter in this litigation are those involving the waste

                    19      management system. Trustee alleges that only this system failed and caused its alleged damages.

                    20      FAC ¶ 32. And it is undisputed that this system was incomplete at the time the Services

                    21      Agreement was terminated—Debtor completed the waste management system on its own and

                    22      with its own design modifications after the Services Agreement had been terminated. SUMF # 41.

                    23      Trustee provides no evidence to the contrary. Because the waste management system had not

                    24      been completed by August 3, 2017, IRZ’s duty to perform that portion of the project remained

                    25      prospective and thus is excused by Debtor’s breach.

                    26             Second, it is undisputed that Debtor acted as the general contractor under the project and

                    27      that IRZ acted as Debtor’s agent. SUMF ## 10, 24. It is also undisputed that the Services

                    28      Agreement set out a compensation model familiar to most lawyers: “Service charges for this
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                        1   project will be based on Agreed Lump Sum or Time and Materials” Ex. B. to Downey Decl. at

                        2   12. 1 Payment was not contingent upon completion of all identified services, but rather “for the

                        3   services provided” by IRZ, as directed by its principal, the Debtor, as follows:

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                            Ex. B to Downey Decl. at 12.
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                    27        See also Ex. B to Downey Decl. § 10 (“For the services provided by [IRZ] under the Scope of
                            Work, Owner shall compensate [IRZ] in accordance with [IRZ’s] standard hourly rate schedule
                    28      attached herein, plus expenses”).
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                        1          This was not a flat-fee arrangement under which all the described Scope of Work must be

                        2   completed, but rather an hourly one. Further, it is one where IRZ was designated as an agent of

                        3   the Debtor. Ex. B to Downey Decl. at 10. And like all hourly arrangements, the principal decides

                        4   what specific work its agent will perform and when, or whether, to exclude a task as not worth the

                        5   cost. This is reflected in the language of the Services Agreement, which provides that the

                        6   obligations listed are not mandatory, but instead “[t]he duties of [IRZ] may include but are not

                        7   limited to” the obligations set forth in the Scope of Work. Ex. B to Downey Decl. at 2; see also

                        8   Ex. B to Downey Decl. at 1.

                        9          Debtor never asked IRZ to design the waste management system. SUMF # 45. Even

                    10      though IRZ had agreed it could do that work, Debtor chose another entity, Fazio Engineering, to

                    11      do it instead. Downey Deposition, vol. III, at 35:7-25 (Ex. M). IRZ, working on an hourly basis

                    12      under Debtor’s direction, properly followed Debtor’s instructions when he chose not to incur the

                    13      expense of certain tasks. Simply put, if the general contractor for the project does not request that

                    14      engineering services be provided, IRZ, as his agent, has no authority to go ahead and perform

                    15      engineering services and then demand to be paid for them. IRZ certainly had no contractual

                    16      obligation to do so.

                    17             Third and finally, even if this were not the case and waste-management engineering was

                    18      required of IRZ, Shelter Products establishes that under Oregon law allegedly defective

                    19      performance is excused when the contractor’s contract is terminated for the owner’s convenience

                    20      mid-stream, before the contractor can complete its work. Shelter Prods., Inc. v. Steelwood Const.,

                    21      Inc., 257 Or. App. 382 (2013).

                    22             Trustee attempts to distinguish this case by asserting that “in stark contrast to the

                    23      terminated subcontractor in Shelter Products, Defendants here have absolutely no basis for

                    24      arguing that IRZ was in any way deprived of the opportunity to inspect and cure.” Opposition

                    25      at 14:27 at 15:2. That is not the holding of Shelter Products. The Shelter Products court made

                    26      clear that termination for convenience itself deprives the party of the right to inspect and cure its

                    27      work, stating that “when there is a termination for convenience, [as opposed to] a termination for

                    28      cause, there [has] been no opportunity to inspect and cure.” Shelter Prods., 257 Or. App. at 398.
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                        1   This is true because when the contract is terminated, the result is that the contractor is “required []

                        2   to immediately stop work with no opportunity to inspect and cure.” Id. at 401. Unless termination

                        3   is for cause, the contractor is not liable because the contractor is deprived, through no fault of its

                        4   own, of this right to fix or finish its as-yet incomplete work. That is what occurred here.

                        5          Further, even assuming here that the right to demand inspection and cure identified

                        6   defects had existed post-termination, Debtor did not exercise it. At no point during the

                        7   construction, or after Debtor completed building the dairy without IRZ’s assistance as project

                        8   manager, did Debtor ever complain about the quality of IRZ’s work or allege any defects

                        9   associated with the construction or operation of the dairy. SUMF # 45. As IRZ was terminated

                    10      from its duties, without cause, without any indication of dissatisfaction with the work, and

                    11      without any request for IRZ to complete or correct previously performed work, IRZ cannot be

                    12      charged for any pre-termination contractual breach.

                    13             Finally, Debtor significantly modified the project after the Services Agreement was

                    14      terminated. SUMF # 41. IRZ cannot be charged for failing to cure work it did not perform, or

                    15      which was significantly modified after it performed the work. 2 For all these reasons, Shelter

                    16      Products calls for summary judgment on this cause of action.

                    17             3.      IRZ Did Not Have a General Obligation to Provide Engineering Services
                    18             Defendants and Trustee agree on one thing in this litigation—IRZ never provided

                    19      engineering services to Debtor during its nearly two-year tenure on the Lost Valley Farm project.

                    20      SUMF # 22. Unsurprisingly, this is not because Debtor did not notice that IRZ was not providing

                    21      engineering drawings. Rather, it is because the Services Agreement does not call for IRZ to

                    22      provide engineering services when Debtor chose not to have IRZ perform engineering services.

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                              Trustee “disputes” SUMF # 41 on the ground that “[t]he declarant Defendants cite lacks
                    26      personal knowledge of Mr. te Velde’s actions after IRZ stopped working on the project.” SUMF
                            # 41. This is false. Wayne Downey declares he personally visited Lost Valley Farm after the
                    27      bankruptcy was filed and the as-built structures had “significant and material” changes from the
                            draftsman’s drawings that IRZ had prepared. Downey Decl. ¶ 19. Thus, this evidence comes
                    28      from his personal knowledge.
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                        1          That IRZ’s view is correct is simple to prove. Debtor directly retained an entirely separate

                        2   engineer, Fazio Engineering, to handle the engineering for Lost Valley Farm. Downey

                        3   Deposition, vol. III, at 35:7-25 (Ex. M). This is inconsistent with Trustee’s claim that IRZ was the

                        4   engineer. Regardless, a review of the Services Agreement shows that IRZ was not contractually

                        5   obligated to provide these engineering services absent Debtor’s instruction to proceed.

                        6          The Services Agreement’s description of the “Scope” provides that IRZ “shall provide the

                        7   services set forth in [the] SCOPE OF WORK.” Ex. B to Downey Decl. This section has three

                        8   parts. First, “Project Management Services.” Second, “Work Phases to Be Performed During

                        9   Project.” And third, “Project Schedule.” Ex. B to Downey Decl.

                    10             The first section, “Project Management Services,” defines IRZ’s role in the Lost Valley

                    11      Farm project. In the first bullet point, the Services Agreement states “[t]his project will be

                    12      undertaken under the supervision and control of ICD as Project Manager.” Ex. B to Downey

                    13      Decl., § 1 (emphasis added). This section then sets forth certain duties of IRZ as “Project

                    14      Manager.” Only one duty speaks to engineering at all.

                    15                     ICD will oversee the design and engineering of this project[;] Will
                                           meet with the OWNER as needed, but on a minimum hold weekly
                    16                     progress meetings with the OWNER to discuss design changes[;]
                                           [and] ICD will oversee the design and engineering of the project to
                    17                     insure [sic] that all objectives of the project are met in the final and
                                           complete design.
                    18
                            Ex. B to Downey Decl., § 1 (emphasis added). This enumerated duty of IRZ was to oversee the
                    19
                            design and engineering of the Lost Valley Farm project, not to provide engineering services. IRZ
                    20
                            did not breach the Services Agreement by failing to directly provide engineering services.
                    21
                                   This interpretation of the Services Agreement is supported by the general recitals of the
                    22
                            Services Agreement. In the section listed as “Project Objective,” immediately before the Scope of
                    23
                            Work section, the Services Agreement states that “[IRZ] will assist the OWNER to make sure
                    24
                            that the project is designed and constructed to operate at maximum efficiencies while using
                    25
                            quality materials and qualified personnel to minimize costs and achieve a long lasting and
                    26
                            sustainable project.” Ex. B to Downey Decl. at 1.
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                        1          Also, the term “Project Manager” is undefined by the Services Agreement. This Court

                        2   may thus consider parol evidence to interpret its usage as a term of art. 12 Williston on Contracts

                        3   § 34:8 (4th ed.) (“Technical words in an agreement are to be interpreted as usually understood by

                        4   those in the business to which they relate unless the context of the agreement or an applicable

                        5   custom or usage clearly indicates that a different meaning was intended”). IRZ’s role was

                        6   administrative, assisting with scheduling and permitting at the direction of the owner or general

                        7   contractor. See SUMF # 21. Therefore, the hiring of IRZ as a project manager does not support a

                        8   finding that IRZ was obligated to also provide engineering services.

                        9          Trustee notes that the preamble to the Services Agreement does broadly states that

                    10      “OWNER retains ICD to perform design, engineering, and project management services, in

                    11      connection with the design, engineering, and construction of The Willow Creek Dairy

                    12      Construction Project as described in the enclosed Scope of Work.” Ex. B to Downey Decl. at 2.

                    13      This language cannot modify the parties’ agreed, specific, inserted scope of work. “When an

                    14      instrument consists partly of written words and partly of a printed form, and the two are

                    15      inconsistent, the former controls.” ORS 42.270.

                    16             The preamble to a contract is of limited value in interpretating its terms. Seven Signatures

                    17      Gen. P’ship v. Irongate Azrep BW LLC, 563 F. App’x 564, 565 (9th Cir. 2014) (“Construing the

                    18      preamble as limiting the MSA’s reach only to the transaction documents and not to these sales

                    19      contracts would render substantive portions of the agreement meaningless”); In re Taxes, Aiea

                    20      Dairy, Ltd., 46 Haw. 292, 305 (1963) (“it is the operative part of an agreement and not mere

                    21      recitals therein which determines what the parties actually intended by entering into the

                    22      agreement”). Additionally, “it is a standard rule of contract interpretation that specific terms

                    23      control over general ones.” Shivkov v. Artex Risk Sols., Inc., 974 F.3d 1051, 1063 (9th Cir. 2020)

                    24      (internal quotations omitted). The specific definition of IRZ’s role in the Project Objective and

                    25      Scope of Work sections refines, limits, and overrides the broader language in the preamble.

                    26             Further, while not argued by Trustee, it is worth stating that IRZ did not breach its

                    27      contractual duty to oversee the project. The Scope section describes IRZ’s oversight as ensuring

                    28      that “all objectives of the project are met in the final and complete design.” Ex. B to Downey
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                        1   Decl. at § 1 (emphasis added). As set forth above, IRZ’s performance of this obligation was

                        2   rendered impossible when Debtor terminated the Services Agreement without cause before the

                        3   final and complete design was created. SUMF ## 9, 39. IRZ never had the opportunity to perform

                        4   this provision of the Services Agreement. Indeed, after the termination, Debtor materially

                        5   changed the scope of the project, including the design of the project, from where it stood when

                        6   IRZ left. See SUMF # 41. IRZ cannot have breached a duty to ensure that the final project met all

                        7   objectives when the Services Agreement was terminated halfway through the project.

                        8   C.     IRZ Was Tasked With Overseeing Engineering Work by Engineers Hired by Debtor
                        9          The second section of the Scope of Work is “Work Phases to Be Performed During

                    10      Project.” Ex. B to Downey Decl. § 2. “This section of the agreement will list the known phases of

                    11      work to be performed for the successful completion of the project.” Ex. B to Downey Decl. at 2.

                    12      The Services Agreement then lists 21 separate phases of the project and sets forth the duties of

                    13      IRZ as to each phase. Ex. B to Downey Decl., §§ 2-8. As set forth above, the specific terms of the

                    14      Services Agreement prevail over the general. Shivkov, 974 F.3d at 1063. Therefore, these 21

                    15      phases defined the oversight obligations owed by IRZ to Debtor. Of these 21 phases, Trustee only

                    16      identifies facts supporting alleged breaches for two of them.

                    17             First, Trustee argues that IRZ breached the requirement of phase 21 that IRZ “Design and

                    18      engineer all types of concrete construction for the project.” Ex. B to Downey Decl. at 8. Trustee

                    19      asserts that “Defendants admitted that IRZ did not design or engineer any aspect of the project’s

                    20      massive concrete construction.” Opposition at 15:6-7.

                    21             This argument ignores phase 2 of the Scope of Work, which provides that IRZ was to

                    22      provide the following services as to pre-engineered structures.

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                    10      Ex. B to Downey Decl. at 4.
                    11             Where engineering services were needed, they would be performed by engineers hired by
                    12      Debtor, Otherwise, Debtor instructed that pre-engineered structures that were used at the Willow
                    13      Creek dairy were to be constructed at the new dairy he was building. As general contractor,
                    14      Debtor had ultimate authority to make these decisions. Downey Decl., ¶ 11. No engineering was
                    15      required because pre-engineered structures were used.
                    16             Second, Trustee argues that IRZ breached the requirement of phase 9 that IRZ “[o]versee
                    17      lagoon design and engineering to insure proper design.” Ex. B to Downey Decl. at 5. Trustee
                    18      asserts that “IRZ did not review any engineering work that the relevant subcontractor (Fazio
                    19      Engineering) may have performed regarding the dairy’s lagoon system.” Opposition at 16:1-2.
                    20      But the evidence Trustee cites does not support this contention. Rather, IRZ’s corporate
                    21      representative stated that he communicated with Fazio Engineering regarding the engineering
                    22      work and made sure that construction complied with Fazio Engineering’s design. Ex. 1 to Clark
                    23      Decl. at 133:9-25. Thus, IRZ met the obligations set forth in phase 9.
                    24             Trustee also makes hay of the fact that IRZ did not hire any engineers itself. Opposition at
                    25      16:13-16. However, under the Services Agreement, the responsibility of hiring sub-contractors
                    26      laid solely with Debtor. IRZ was only required to “[a]ssist OWNER in hiring and overseeing all
                    27      Sub Contractors.” Ex. B to Downey Decl. at 1. Thus, when engineering was needed, they were to
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                        1   be hired by the Debtor. That, indeed, as set forth above, occurred with Fazio Engineering. IRZ

                        2   had no duty or obligation itself to hire any engineers, because that was the responsibility of the

                        3   General Contractor.

                        4          Finally, Trustee’s argument that IRZ breached the contract on the day it signed the Servies

                        5   Agreement defies logic. As set forth above, this was a time-and-materials contract in which IRZ

                        6   was to act solely as the agent for Debtor. Under a time-and-materials contract, IRZ serves at the

                        7   direction of Debtor. IRZ did not provide additional engineering services because Debtor never

                        8   requested them. The fact that Debtor never requested engineering services under the time and

                        9   materials contract prior to terminating IRZ is undisputed and entitles IRS to summary judgment.

                    10      D.     The Negligence Claim Fails for Lack of Duty and the Contractual Limitation on
                                   Liability
                    11
                                   1.      Trustee Provides No Evidence of Negligence
                    12

                    13             Trustee has shown no evidence of negligence. Instead, he relies on the canard that IRZ

                    14      was responsible for failing to perform engineering work that it supposedly agreed to do under the

                    15      Services Agreement. Opposition at 18. But even if this were correct, Trustee raises only an issue

                    16      of contract, not tort. “For the injured party to have a tort claim, however, that party must allege

                    17      the breach of a standard of care that is independent of the contract and without reference to its

                    18      specific terms.” Abraham v. T. Henry Const., Inc., 230 Or. App. 564, 568 (2009), aff’d on other

                    19      grounds, 350 Or. 29 (2011). Trustee may not point to a contractual obligation, such as a phantom

                    20      assertion that IRZ contracted to provide engineering services, as a basis for negligence. Rather,

                    21      Trustee must show that IRZ performed specific work and, in doing so, breached a separate legal

                    22      duty of care to Debtor in a manner that damaged Debtor.

                    23             In the present motion, IRZ has provided evidence that the work it did perform was done to

                    24      the proper standard of care. SUMF # 45. Any work that IRZ did not complete under the Services

                    25      Agreement was solely due to Debtor’s actions, including failing to move the project forward

                    26      (SUMF # 34); failing to pay his subcontractors, leading to their non-performance (SUMF # 37);

                    27      terminating the Services Agreement by failing to pay IRZ (SUMF # 39); and modifying all plans

                    28      and completing the project himself after the termination of IRZ (SUMF # 41). These are all issues
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                        1   of contract, not tort. As set forth in Defendants’ Motion, Defendants are not liable for the acts of

                        2   Debtor or its independent subcontractors.

                        3          Trustee provides no evidence to dispute these material facts. No percipient witness or

                        4   expert is cited in Trustee’s opposition for the proposition that IRZ performed work in a negligent

                        5   manner. The sole evidence trustee cites is an expert report of Jesse D. Frederick. Opposition at

                        6   25:1-4. “Expert reports are hearsay and not admissible unless the proponent is able to provide a

                        7   basis for an exception to the hearsay rule.” Escobar v. AirBus Helicopters SAS, 2016 WL

                        8   6024441, at *1 (D. Haw. Oct. 4, 2016); see also Alexie v. United States, 2009 WL 160354, at *1

                        9   (D. Alaska Jan. 21, 2009) (“The reports are out-of-court statements by witnesses offered for their

                    10      truth and so fall within the definition of hearsay in Fed.R.Evid. 801”). Mr. Frederick’s report is

                    11      not supported by any declaration of Mr. Frederick, or any other evidence that would render it

                    12      admissible. Ex. 9 to Clark Decl. The report may not be considered by this Court. Fed.R.Evid. 801.

                    13      Accordingly, this report, by itself, is not a basis for negligence.

                    14             Moreover, Mr. Frederick’s assertions are simply incomplete. Mr. Frederick makes no

                    15      effort to distinguish between work that IRZ completed as Project Manager and the work that

                    16      Debtor performed as General Contractor after terminating IRZ from involvement in the

                    17      construction and completing the construction on his own. Mr. Frederick is able to only speculate

                    18      what went wrong and who was at fault. This does not create a genuine issue of disputed fact.

                    19             2.      The Economic Loss Rule Bars the Negligence Claim
                    20             Trustee asserts that the economic loss rule does not apply here because “Plaintiff is not

                    21      seeking to hold Defendants liable for ‘purely economic loss.’” Opposition at 16:4. However,

                    22      Trustee fails to provide facts to support this position. Trustee asserts that “Defendants’ failures

                    23      forced Plaintiff to spend millions of dollars to remediate the property and diminished the

                    24      property’s value by many millions of dollars.” Opposition at 22:1-3 (emphasis added). But

                    25      Trustee cites to paragraph 57 of the FAC as its evidence to support this assertion. “[A]llegations

                    26      in a Complaint do not constitute evidence for purposes of a motion for summary judgment.”

                    27      Gustafson v. SunTrust Mortg., Inc., 2017 WL 3575282, at *6 (C.D. Cal. July 10, 2017), aff’d, 752

                    28      F. App’x 495 (9th Cir. 2019) (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986)).
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                        1   Trustee’s other cited evidence is Debtor’s Chapter 11 Disclosure Statement and IRZ’s Proof of

                        2   Claim, neither of which provide any admissible evidence of remediation costs. Accordingly,

                        3   Trustee fails to provide evidence of actual property damage that would take his claims outside the

                        4   economic loss rule.

                        5          Even if the Court were to take the allegations of the complaint as gospel, it does not

                        6   change the result. The cited paragraph 57 of the FAC does not identify any property damage but

                        7   instead asserts damages for (1) remediation; (2) loss of profits; (3) professional fees; (4) fines;

                        8   and (5) loss of value. FAC ¶ 57. These are not allegations of actual damage to the property itself,

                        9   but instead assert the costs incurred when the State of Oregon required the cleanup of the waste

                    10      management system. Without actual property damage, the losses are solely economic. Harris v.

                    11      Suniga, 344 Or. 301, 308 (2008).

                    12             3.      The Limitation of Liability Claim is Not Unconscionable
                    13             Trustee incorporates by reference the argument he previously raised regarding the

                    14      enforceability of the liability limitation clause and argues that the Court should decline to enforce

                    15      the limitation-of-liability clause as being procedurally unconscionable. “Unconscionability is a

                    16      legal issue that must be assessed as of the time of contract formation.” Best v. U.S. Nat. Bank of

                    17      Oregon, 303 Or. 557, 560 (1987). “Oregon courts are reluctant to declare contractual provisions

                    18      per se unconscionable, even among parties of unequal bargaining power.” Livingston v. Metro.

                    19      Pediatrics, LLC, 234 Or. App. 137, 152 (2010).

                    20             The doctrine of procedural unconscionability applies in Oregon as follows:

                    21                     Procedural unconscionability refers to the conditions of contract
                                           formation and focuses on two factors: oppression and surprise. [].
                    22                     Oppression exists when there is inequality in bargaining power
                                           between the parties, resulting in no real opportunity to negotiate the
                    23                     terms of the contract and the absence of meaningful choice. [].
                                           Surprise involves whether terms were hidden or obscure from the
                    24                     vantage of the party seeking to avoid them. []. Generally speaking,
                                           factors such as ambiguous contract wording and fine print are the
                    25                     hallmarks of surprise. In contrast, the existence of gross inequality
                                           of bargaining power, a take-it-or-leave-it bargaining stance, and the
                    26                     fact that a contract involves a consumer transaction, rather than a
                                           commercial bargain, can be evidence of oppression.
                    27
                            Bagley v. Mt. Bachelor, Inc., 356 Or. 543, 555 (2014).
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                        1          First, Trustee asserts the contract is procedurally unconscionable because IRZ did not

                        2   specifically discuss the terms of the clause with Debtor when the Services Agreement was

                        3   negotiated. Opposition at 25:23 to 26:5. Even if this were true, the limitations clause is not

                        4   hidden, but is set forth in plain English under a clause headlined as “ICD Liability” on page 13 of

                        5   the Services Agreement. The limitation clause is, as a matter of law, not ambiguous, hidden, or

                        6   otherwise a surprise to any of the parties to the contract. Sprague v. Quality Restaurants Nw.,

                        7   Inc., 213 Or. App. 521, 526 (2007) (holding an arbitration clause was not procedurally

                        8   unconscionable as “it is clearly and fully described in the employee handbook, with the key

                        9   provisions set off in italics and boldface”).

                    10             Further, the factor of surprise is not met under Oregon law unless there are indicia that one

                    11      of the parties lacked the sophistication to understand a term and the clause was pushed on them

                    12      through “deception or any other improper means.” Best, 303 Or. at 561. This was a commercial

                    13      contract worth millions of dollars and there is no evidence that it was pushed on Debtor without

                    14      opportunity to review it with counsel. That is all the disclosure that is required. Id. Any other

                    15      ruling would mean that any clause in a contract that was not specifically orally discussed between

                    16      the parties would be void as a matter of law.

                    17             Second, Trustee also asserts procedural unconscionability because there was no specific

                    18      discount provided for agreeing to it. Opposition at 26:5-7. Nothing in the doctrine of procedural

                    19      unconscionability requires that any individual term be given a specific value in the contract.

                    20      Parties are allowed to demand specific terms and refuse to enter agreements if they are not

                    21      included. Otherwise, any specific contract would have to have each clause individually negotiated

                    22      and valued, a daunting and unrealistic proposition. In this case, the parties were well capable of

                    23      negotiating the contract as a whole or demanding that specific terms be removed if they so

                    24      choose.

                    25      E.     The Fourth Cause of Action for Fraudulent Transfer Fails
                    26             In its Motion, IRZ seek summary judgment as to Trustee’s fourth cause of action for

                    27      fraudulent transfer. Motion at26-28. In response, Trustee simply states that “Plaintiff will agree to

                    28      a stipulation of dismissal without prejudice of his fraudulent transfer claim.” Opposition at 30:2.
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                        1   Although IRZ would likely have agreed to such a stipulation at an earlier time, it will not now

                        2   because the matter is ripe for determination. Nor does Trustee have a right to dismissal of claims

                        3   without Court consent. Fed. R. Civ. P. 15(a)(2) (as incorporated by Fed. R. Bankr. P. 7015); Fed.

                        4   R. Civ. P. 41(a) (as incorporated by Fed. R. Bankr. P. 7041).

                        5          Leave of Court should not be granted because the dismissal was only sought after

                        6   summary judgment had been filed on the claim. Trustee “should not be permitted to evade

                        7   summary judgment on unmeritorious claims by voluntarily dismissing the claims and later

                        8   reinstating them.” Van Uden v. Solomensen, 2019 WL 5865284, at *1 (D. Mont. Oct. 9, 2019),

                        9   report and recommendation adopted, 2019 WL 5863975 (D. Mont. Nov. 8, 2019); see also

                    10      Knippling v. Magnuson, 2010 WL 1286739, at *2 (E.D. Wash. Mar. 10, 2010), report and

                    11      recommendation adopted, 2010 WL 1286716 (E.D. Wash. Mar. 26, 2010) (“Defendant’s legal

                    12      interests in fair and orderly proceedings before the court will be prejudiced if Plaintiff is able to

                    13      refile this claim at a later date after having failed to adhere to the court’s scheduling order and

                    14      court rules”). As set forth in the Motion, this cause of action has no merit. Accordingly, IRZ

                    15      requests that the Court grant summary judgment as to this cause of action.

                    16      F.     Lindsay is Entitled to Summary Judgment
                    17             1.      Lindsay is Not a Party to the Services Agreement
                    18             Trustee, desperate to manufacture liability where there is none, continues to insist that

                    19      Lindsay is a proper party to this action. None of his arguments carry any weight.

                    20             First, Trustee’s second, third, and fourth causes of action entirely arise out of the Services

                    21      Agreement. The Work Order relied on by Trustee covers only preliminary work done before

                    22      Debtor purchased Lost Valley Farm and is expressly superseded by the Services Agreement.

                    23      SUMF # 6, 13. IRZ Consulting, LLC, is the express signatory on the Services Agreement. SUMF

                    24      # 9. It was and is a corporate entity independent from Lindsay. Trustee provides no authority for

                    25      the proposition that he can hold liable an entirely different entity from the express contractual

                    26      counter-party. 3 The Court may grant summary judgment on this basis alone.

                    27
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                              Certain derivative liability claims, such as alter ego or successor liability, might achieve such a
                    28      result if alleged and proven. But Trustee makes no such allegation or argument for those claims,
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                        1          Trustee fails to provide evidence that Lindsay was the actual, “secret” counter-party to the

                        2   Services Agreement. Trustee asserts that IRZ’s use of “ICD IRZ Construction Division by

                        3   Lindsay” on its letterhead or forms at different times presents a genuine issue of material fact that

                        4   Lindsay Corp. is the true counter-party. Opposition at 21:17-18. But it is undisputed by Trustee

                        5   that “IRZ Construction by Lindsay” was a marketing name developed to capitalize on IRZ’s

                        6   connection with Lindsay Corp., a publicly traded company in the irrigation space. Neither

                        7   Lindsay Corp. nor Lindsay Holding ever did work under the IRZ name. SUMF # 55. Therefore,

                        8   “IRZ Construction by Lindsay” was simply a trade name of IRZ, and does not indicate that

                        9   Lindsay was the actual counter-party to the Services Agreement.

                    10             Finally, Trustee asserts that derivative liability is appropriate solely because IRZ

                    11      employees communicated with attorneys for Lindsay regarding the project. Opposition at 27:14-

                    12      15. But this conversation occurred after formation of the Services Agreement. Ex. 14 to Clark

                    13      Decl. It is not shocking that IRZ later discussed a large and contentious issue with its then-parent

                    14      company’s attorneys. Trustee provides no authority as to his would make Lindsay liable for the

                    15      acts of IRZ. Nor does doing so make the parent company liable.

                    16             2.      The Indemnification Agreement By Lindsay’s Parent Company Has No
                                           Bearing on this Matter
                    17

                    18             Finally, Trustee asserts a new, alternative argument that Lindsay agreed to indemnify IRZ

                    19      for any liability in this action. For background, Lindsay Sales Holding Co., LLC (“Lindsay

                    20      Holding”) is a wholly owned subsidiary of defendant Lindsay Corp. Ex. 15 to Clark Decl.

                    21      Lindsay Holding sold its membership interests in IRZ to IRZ Holding Company, LLC (“IRZ

                    22      Holding”) through the Membership Interest Purchase Agreement (the “MIPA”). Ex. 15 to Clark

                    23      Decl. As part of the sale, Lindsay Holding agreed to indemnify IRZ Holding for any losses

                    24      suffered by IRZ Holding from this litigation, subject to certain limitations contained within the

                    25      MIPA. Ex. 15 to Clark Decl. Trustee asserts that under the MIPA, Lindsay “has agreed to

                    26      indemnify IRZ for any losses incurred in this lawsuit.” Opposition at 27:21-22.

                    27
                            provides no evidence to support them, and has failed to name these corporate entities as parties in
                    28      this action.
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                        1           First, this Court lacks in personam jurisdiction to grant any relief against Lindsay. Neither

                        2   IRZ Holding nor Lindsay Holding is a party to this action. This Court cannot direct a non-party to

                        3   indemnify a party to this action. Zepeda v. U.S. I.N.S., 753 F.2d 719, 727 (9th Cir. 1983) (“A

                        4   federal court may issue an injunction if it has personal jurisdiction over the parties and subject

                        5   matter jurisdiction over the claim; it may not attempt to determine the rights of persons not before

                        6   the court”).

                        7           Trustee acknowledges as much, stating that “Whether or not Lindsay, as its Rule 30(b)(6)

                        8   witness said, or the subsidiary identified through which Lindsay effected the sale, is ultimately

                        9   the indemnitor, Plaintiff will be entitled to attach IRZ’s indemnity rights to collect a judgment

                    10      against IRZ. Lindsay belongs in the case for these additional reasons.” Opposition at 29:1-4.

                    11      Trustee provides no authority that Lindsay is a proper defendant to a proceeding when no claims

                    12      are raised against it, but solely in case Trustee obtains a judgment against a different party and

                    13      then seeks to collect on it as to a third party.

                    14              Second, Trustee lacks standing to assert this argument. Neither Trustee nor Debtor is a

                    15      party to the MIPA. Under Oregon law, a third-party can only enforce a contract upon evidence of

                    16      “an intention to confer a contract right upon [the] third party.” Aetna Cas. & Sur. Co. v. Oregon

                    17      Health Scis. Univ., 310 Or. 61, 65 (1990). Absent such evidence, “the contract will not be

                    18      interpreted to promise performance to the third-party stranger to the contract even though the

                    19      stranger may incidentally benefit from the contract.” Id.; see also Sisters of St. Joseph of Peace,

                    20      Health, & Hosp. Servs. v. Russell, 318 Or. 370, 375 (1994). There is no evidence that either

                    21      Lindsay Holdings or IRZ Holding intended to grant Debtor or Trustee third-party beneficiary

                    22      status in the MIPA, or any reason they would. The MIPA contemplated sale of IRZ as a whole.

                    23      Whether the indemnification clause is exercised is solely a concern between IRZ Holding and

                    24      Lindsay Holding.

                    25                                                II. CONCLUSION
                    26              For the reasons stated above and in Defendants’ Motion, Defendants request entry of an

                    27      order granting their motion for summary judgment and dismissing Debtor’s complaint or,

                    28      alternatively, for partial summary judgment.
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                            Dated: July 2, 2025   MILLER NASH LLP
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                        4                         By: /s/ Kyle D. Sciuchetti
                                                     Kyle D. Sciuchetti, OSB No. 965705, admitted pro hac vice
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                        6                            Hagop T. Bedoyan, CSB No. 13285
                        7                            Attorneys for IRZ Consulting, LLC, and Lindsay Corporation
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